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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           CASE NO: 20-CV-23441-ALTONAGA
                              MAGISTRATE JUDGE REID

  KWESI KERR,

         Petitioner,

  v.

  WILLIAM BARR, et al.,

       Respondent
  ______________________________/

                          ORDER OF DIRECTIONS TO CLERK

         This case is before the Court on emergency petitions for writ of habeas corpus.

  [ECF Nos. 1, 6].1 For unknown reasons, the entire court file was sealed by the

  Clerk’s Office. As explained below, the docket should be UNSEALED, and the only

  documents that should remain sealed are ECF Nos. 1-1 and 6-1.

         Movant has filed multiple motions to seal in this case: two identical

  “motion[s] to file habeas corpus under seal and anonymously [ECF Nos. 3, 7] and a

  “motion to file emergency temporary restraining order and preliminary injunction

  anonymously and under seal” [ECF No. 10]. Movant contends that the motions to

  seal should be granted because he has a battered spouse petition pending and


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   Petitioner filed the second emergency petition three days after the first. The petitions appear to
  be substantially similar.
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  “IIRAIRA and VAWA 2000” prohibit the publication and sharing of his information

  except for law enforcement purposes. [ECF Nos. 3, 7, 10].

        The essence of Petitioner’s filing is that he believes the Government is

  preventing him from “pursuing a visa application and cancellation of removal” prior

  to his deportation. [ECF No. 6]. This includes Petitioner’s application under the

  Violence Against Women Act (“VAWA”). As such, Petitioner requests that the

  Court stay his order of removal until his VAWA petition is full adjudicated. [Id. at

  3].

        VAWA’s confidentiality provisions prohibit employees of the Department of

  Homeland Security and Department of State from disclosing information related “to

  an alien who is the beneficiary of an application for relief” under the Act. 8 U.S.C.

  § 1367(b). The Court can locate nothing in VAWA that requires a District Court to

  entirely seal any lawsuit related to a Petitioner who has a pending VAWA

  application, especially where, as here, the lawsuit does not directly relate to the

  confidential information that would be part of Petitioner’s VAWA application.

  Rather, the instant petition relates to ICE’s alleged interference with Petitioner’s

  ability to prosecute his VAWA application, not to the VAWA application itself.

        It is well-settled that there is a general right to inspect and copy public records

  and documents, including judicial documents. See Nixon v. Warner Commc’ns, 435

  U.S. 589, 597 (1978)). See also Comm’r, Ala. Dep’t of Corr. v. Advance Local


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  Media, LLC, 918 F.3d 1161, 1167 (11th Cir. 2019) (“[M]aterials submitted by

  litigants . . . that are integral to the judicial resolution of the merits in any action

  taken by that court are subject to the common law right of access . . . .” (citation

  omitted)). “To rebut the presumption in favor of public access, the requesting party

  must establish that sealing the records is essential to preserve higher values and is

  narrowly tailored to serve that interest.” United States v. Sajous, 749 F. App’x 943,

  944 (11th Cir. 2018) (citation omitted); see also Advance Local Media, 918 F.3d at

  1173 (“This public right of access . . . may only be overcome when a court

  determines . . . that the party seeking to keep the information confidential has shown

  good cause.”).

        Movant’s assertion that this entire proceeding should be sealed is vague, and

  unsupported by any specific assertions regarding the confidentiality of the

  documentation provided in initiation of this lawsuit. Consequently, his request is not

  sufficiently “narrowly tailored” to rebut the presumption of public access to the

  docket. See Sajous, 749 F. App’x at 944-45; Newman v. Graddick, 696 F.2d 796,

  803 (11th Cir. 1983).

        As discussed above, the instant petition relates not to Movant’s VAWA

  application itself, but ICE’s alleged interference with his ability to prosecute his

  VAWA application. Although Movant attaches certain documents to his petitions

  that are of a confidential nature, he does not include any substantial discussion of


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  the substance of those documents in his petitions. Accordingly, Petitioner’s motions

  to seal his pending petitions [ECF Nos. 3, 6] are GRANTED in part and DENIED

  in part.

         As to Petitioner’s “Motion to File and Emergency Temporary Restraining

  Order and Preliminary Injunction Anonymously and Under Seal” [ECF No. 10], his

  motion is DENIED without prejudice. As discussed above, Petitioner’s mere

  assertion that his VAWA application is pending is insufficient for the Court to permit

  him to file any preliminary injunction under seal. See S.D. Fla. L.R. 5.4(b). He fails

  to sufficiently set forth a factual and legal basis to rebut the presumption in favor of

  public access to judicial records.

         Accordingly, the Clerk is directed as follows:

         1. Petitioner’s Motions to File Habeas Corpus Under Seal [ECF Nos. 3, 7]

             are GRANTED in part and DENIED in part:

               a. ECF No. 1 shall be UNSEALED, but ECF No. 1-1 (Exhibit A) shall

                  remain SEALED;

               b. ECF No. 6 shall be UNSEALED, but ECF No. 6-1 (Exhibit A) shall

                  remain SEALED;

         2. Petitioner’s Motion to File Emergency Temporary Restraining Order

             Under Seal [ECF No. 10] is DENIED without prejudice; and,

         3. All other docket entries shall be UNSEALED.


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        DONE AND ORDERED at Miami, Florida this 26th day of August, 2020.



                                     s/Lisette M. Reid
                                     UNITED STATES MAGISTRATE JUDGE


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